     Case 8:20-cv-01173-VEB Document 20 Filed 10/25/21 Page 1 of 1 Page ID #:1843




1

2
                                                                              JS-6

3

4

5
                                 UNITED STATES DISTRICT COURT
6                              CENTRAL DISTRICT OF CALIFORNIA

7
      DAVID B.,                                         Case No. 8:20-CV-01173 (VEB)
8
                            Plaintiff,                  JUDGMENT
9
      vs.
10    KILOLO KIJAKAZI, Acting Commissioner of
      Social Security,
11
                           Defendant.
12
            For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
13
     AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further
14
     proceedings is DENIED; (2) the Commissioner’s request for an order affirming the Commissioner’s
15
     final decision and dismissing the action is GRANTED; (3) judgment is entered in the
16   Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.

17          DATED this 25th day of October, 2021,

18                                                   /s/Victor E. Bianchini
                                                     VICTOR E. BIANCHINI
                                                UNITED STATES MAGISTRATE JUDGE
19

20                                                  1

                      JUDGMENT – DAVID B. v KIJAKAZI 8:20-CV-01173-VEB
